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                       United States District Court
                       Northern District of Illinois
                             Eastern Division

 United States of America,

      Plaintiff,

 v.                                            No. 22 CR 643

 Robert Murray, Jr.,                           Judge Manish S. Shah

      Defendant.

        Defendant’s Motion to Recall Warrant and Modify Conditions of Release

      Defendant Robert Murray, Jr. through his attorney Holly N. Blaine requests

that this court recall the warrant for his arrest, issued on March 10, 2025, and

modify the conditions of his release to include 30 days of inpatient psychiatric and

substance-abuse treatment at Chris Kyle Patriots Hospital in Anchorage, Alaska.

      This court issued a warrant for Mr. Murray’s arrest following a report from

pretrial services that Mr. Murray had not contacted his pretrial officer to arrange

for location monitoring after the court modified his conditions of release to home

incarceration on March 7, 2025.

      This morning, pretrial services filed a follow-up report, indicating that Mr.

Murray has been in custody in Anchorage since March 7, 2025. His failure to

arrange for location monitoring was not willful—he was prevented from making

arrangements with his assigned pretrial services officer due to his arrest on DUI

charges. Those charges appear to be the result of a combination of factors,

including a possible mental health breakdown and substance-abuse relapse as

indicated in the arrest reports attached to today’s pretrial services filing.

      After reviewing today’s report, counsel spoke to an intake counselor at Chris

Kyle Patriots Hospital in Anchorage, Alaska. Mr. Murray has received inpatient
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treatment at Chris Kyle in the past, and they confirmed that they currently have

open beds to accept Mr. Murray back into treatment. To start the intake process,

Mr. Murray will need to complete a phone screening and will need transportation

to the facility. Mr. Murray’s last treatment at Chris Kyle was approximately two

years ago.

  Defense counsel has grave concerns for Mr. Murray’s mental health and his

ability to proceed to sentencing in this mental state. Without intensive treatment,

Mr. Murray may not be competent to understand the sentencing hearing and is

currently unable to assist counsel in sentencing preparations in his altered mental
state.

  Counsel emailed AUSA Brian Havey and pretrial services regarding their

position on this matter. AUSA Havey indicated that he opposes this motion and

believes that Mr. Murray should remain incarcerated. Pretrial services also

opposes Mr. Murray’s release.



   WHEREFORE counsel for the defendant respectfully requests that the court

recall the March 10, 2025, warrant and modify Mr. Murray’s release conditions to

include inpatient treatment at Chris Kyle Patriots Hospital for the next 30 days

upon his release from detention in Alaska.

                                       Respectfully Submitted,


                                       /s/ Holly N. Blaine
                                       Attorney for Robert Murray, Jr.
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   Defense Motion to Recall Warrant and Modify Conditions of Release
